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   6

   7

   8                         UNITED STATES DISTRICT COURT

   9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

  10                               LOS ANGELES DIVISION

  11   KENSINGTON GRACE HOLDINGS, LLC,          Case No. CV 11-07134-MMM-JEM
                                                _________________
  12
                            Plaintiff,          PROPOSED ORDER OF DISMISSAL
  13                                            WITH PREJUDICE
               v.
  14
       CITIZENS BUSINESS BANK, CATHAY
  15   BANK, BRIDGE BANK, N.A., SANTA
       BARBARA BANK & TRUST, N.A., CENTER
  16   BANK, COMMUNITY BANK, MONTECITO
  17   BANK & TRUST, NARA BANK, TORREY
       PINES BANK, and WILSHIRE STATE BANK,
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                            Defendants.
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                      PROPOSED ORDER OF DISMISSAL WITH PREJUDICE
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         1                   ORDER OF DISMISSAL WITH PREJUDICE
         2
                    In consideration of the parties’ Stipulated Motion for Dismissal of all claims with
         3
             prejudice and all counterclaims as moot asserted by between Plaintiff Kensington Grace
         4

         5   Holdings, LLC against and Defendant Cathay Bank, the Stipulated Motion for Dismissal

         6   is GRANTED, and it is ORDERED, ADJUDGED AND DECREED that all claims

         7   asserted in this suit between Plaintiff and Defendant are hereby dismissed with prejudice.
         8
                    It is further ORDERED that all attorneys’ fees and costs are to be borne by the
         9
             party that incurred them.
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        11          Dated: May 2, 2012            By:     _________________________________
                                                          MARGARET M. MORROW,
        12                                                U.S. DISTRICT JUDGE
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